977 F.2d 590w
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Orrin W. PAYNE, Petitioner-Appellee, Cross-Appellant.v.Robert BORG, Warden, Respondent-Appellant, Cross-Appellee.
    Nos. 91-15678, 91-15867.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted June 12, 1992.Decided Oct. 2, 1992.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    